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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 THOMASINA A. COLBERT NOLL,                    §
                                               §
        Plaintiff,                             §
                                               §
 v.                                            §
                                               §       CIVIL ACTION NO. 4:22-cv-2672
 FEDERAL HOME LOAN                             §
 MORTGAGE CORPORATION, AS                      §
 TRUSTEE FOR THE BENEFIT OF                    §
 THE FREDDIE MAC SEASONED                      §
 LOANS STRUCTURED                              §
 TRANSACTION TRUST, SERIES                     §
 2019-3 AND SELECT PORTFOLIO                   §
 SERVICING, INC.,                              §
                                               §
                Defendants.



                          UNOPPOSED MOTION TO WITHDRAW
                             AS COUNSEL FOR PLAINTIFF


TO THE HONORABLE COURT:

       Robert C. Lane, Joshua D. Gordon, Christopher C. West and The Lane Law Firm, P.L.L.C.

(“Movants”) ask this Court’s permission to withdraw as Counsel for Thomasina A. Colbert Noll

(“Plaintiff”). This Motion encompasses any other counsel of record or any other attorney employed

or associated with The Lane Law Firm, P.L.L.C., and in support thereof would show the following:

1.     Thomasina A. Colbert Noll is the Plaintiff (“Plaintiff”).

2.     FEDERAL HOME LOAN MORTGAGE CORPORATION, AS TRUSTEE FOR THE

       BENEFIT       OF   THE    FREDDIE       MAC     SEASONED      LOANS      STRUCTURED

       TRANSACTION TRUST, SERIES 2019-3 and Select Portfolio Servicing, Inc. are

       Defendants.

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3.     Movants are currently enrolled as counsel for Thomasina A. Colbert Noll.

4.     On July 28, 2022, Plaintiff filed an Original Petition and Temporary Restraining Order to

       stop a foreclosure sale scheduled for August 2, 2022. This TRO was granted.

5.     Defendants removed this case to the Southern District of Texas Houston Division on

       August 9, 2022.

6.     There is good cause for this court to grant the Motion. Specifically, Plaintiff has terminated

       Movants. Movants are no longer retained.

7.     Plaintiff has made clear that she does not wish to dismiss this lawsuit and that she wants

       Movants to withdraw from this lawsuit.

8.     Defendants are unopposed to this motion.

9.     This case is in its early stages and this motion will not delay the prosecution of this case.

10.    Plaintiff’s last known address is 1613 Palcio Real Drive, Houston, Texas 77047. Her last

       known phone number is (919) 432-9122, and last known email address is

       colbertthomasina@gmail.com.

       WHEREFORE, PREMISES CONSIDERED, Robert C. Lane, Joshua D. Gordon,

Christopher C. West, and The Lane Law Firm, P.L.L.C. ask that this Court grant their Unopposed

Motion to Withdraw as Counsel for Plaintiffs and remove any and all counsel associated with The

Lane Law Firm, P.L.L.C.




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Respectfully submitted this 20 day of October 2022,


                                                      By: /s/ Robert C. Lane
                                                      Robert “Chip” Lane
                                                      State Bar No. 24046263
                                                      Notifications@lanelaw.com
                                                      Joshua D. Gordon
                                                      State Bar No. 24091592
                                                      Joshua.gordon@lanelaw.com
                                                      Christopher C. West
                                                      State Bar No. 24102639
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                                                      THE LANE LAW FIRM, P.L.L.C.
                                                      6200 Savoy Drive, Suite 1150
                                                      Houston, Texas 77036
                                                      Telephone: (713) 595-8200
                                                      Facsimile: (713) 595-8201
                                                      ATTORNEYS FOR PLAINTIFF


                            CERTIFICATE OF CONFERENCE

      On October 19, 2022, I conferred with Counsel for Defendants regarding this motion.
Defendants are unopposed.

                                                      By: /s/ Joshua D. Gordon
                                                          Joshua D. Gordon




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                            CERTIFICATE OF CONFERENCE

      On October 19, 2022, Thomasina A. Colbert Noll confirmed in writing that she wishes
Movants to withdraw from this lawsuit.

                                                   By: /s/ Joshua D. Gordon
                                                       Joshua D. Gordon


                               CERTIFICATE OF SERVICE

       I hereby certify that on the 20 day of October 2022, a true and correct copy of the above
and foregoing instrument has been served upon the following via ECF notification:

Michael F. Hord, Jr.
Eric C. Mettenbrink
HIRSCH & WESTHEIMER, P.C.
1415 Louisiana, 36th Floor
Houston, Texas 77002-2772
Telephone 713-220-9182
Facsimile 713-223-9319
E-mail: mhord@hirschwest.com
Email: emettenbrink@hirschwest.com
ATTORNEY FOR DEFENDANTS

       A copy of the motion was emailed to Thomasina A. Colbert Noll at the following email
address: colbertthomasina@gmail.com on 20 day of October 2022.

                                                   By: /s/ Robert C. Lane
                                                      Robert C. Lane




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